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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                Case No. 0:24-cv-60382-DSL

   JESSICA PIAFSKY, an individual,
                                         Plaintiff,

   v.
                                                      EXHIBITS TO PLAINTIFF’S
   MB HOME IMPROVEMENTS INC. a Florida                RESPONSE TO DEFENDANT
   Corporation, MAXIM BOHADANA, an Individual,        MAXIM BOHADANA’S
   ROI NEEMAN, an Individual and CONSTRUCTION         MOTION TO DISMISS THE
   FORT LAUDERDALE, INC. d/b/a MB HOME                COMPLAINT PURSUANT TO
   IMPROVEMENTS, a Florida Corporation,               FED. R. CIV. P. 12 (B)(2)
                                      Defendants




                      EXHIBIT B
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